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                              Attorneys for Defendants
                   7
                              NAPOLI BERN RIPKA & ASSOCIATES,
                   8          LLP; NAPOLI BERN RIPKA SHKOLNIK &
                              ASSOCIATES, LLP;
                   9          NAPOLI BERN RIPKA SHKOLNIK, LLP;
                              NAPOLI BERN RIPKA, LLP;
                10            NAPOLI KAISER BERN, LLP;
                              MARC J. BERN; AND PAUL J. NAPOLI
                11
                12
                                                     UNITED STATES DISTRICT COURT
                13
                                                   CENTRAL DISTRICT OF CALIFORNIA
                14
                              MARC I. WILLICK, an individual,,             Case No. 2:15-cv-652
                15
                                             Plaintiff,
                16
                              v.                                           DEFENDANTS’ CORPORATE
                17                                                         DISCLOSURE STATEMENT
                18            NAPOLI BERN RIPKA &                          [FED. R. CIV. PROC., R. 7.1]
                              ASSOCIATES, LLP, a purported
                19            limited liability partnership; NAPOLI
                              BERN RIPKA SHKOLNIK &                        Removal Filed: January 28, 2015
                20            ASSOCIATES, LLP, a purported
                              limited liability partnership;
                21            NAPOLI BERN RIPKA SHKOLNIK,
                              LLP, a purported limited liability
                22            partnership; NAPOLI BERN RIPKA,
                              LLP, a purported limited liability
                23            partnership; NAPOLI KAISER BERN,
                              LLP, a purported limited liability
                24            partnership; MARC J. BERN, an
                              individual; PAUL J. NAPOLI, an
                25            individual; and DOES 1 through 50,
                26                           Defendants.
                27
                28
LITTLER MENDELSON, P.C.
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Los Angeles, CA 90067.3107
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                              CORPORATE DISCLOSURE
                             Case 2:15-cv-00652-AB-E Document 3 Filed 01/28/15 Page 2 of 2 Page ID #:80



                   1          TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF MARC I.
                   2          WILLICK AND HIS ATTORNEY OF RECORD:
                   3                   The undersigned, counsel of record for Defendants NAPOLI BERN RIPKA &
                   4          ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP;
                   5          NAPOLI BERN RIPKA SHKOLNIK, LLP; NAPOLI BERN RIPKA, LLP; NAPOLI
                   6          KAISER BERN, LLP; MARC J. BERN; and PAUL J. NAPOLI (“Defendants”)
                   7          hereby submit the following Corporate Disclosure Statement pursuant to Federal
                   8          Rules of Civil Procedure, Rule 7.1:
                   9                   Defendants NAPOLI BERN RIPKA & ASSOCIATES, LLP; NAPOLI BERN
                10            RIPKA SHKOLNIK & ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK,
                11            LLP; NAPOLI BERN RIPKA, LLP; NAPOLI KAISER BERN, LLP are not publicly-
                12            held corporations – all are limited liability partnerships. No publicly-held corporation
                13            owns 10% or more of any of the Defendant entities.
                14                     A supplemental corporate disclosure statement will be filed upon any change in
                15            the information provided herein in accordance with Federal Rules of Civil Procedure,
                16            Rule 7.1.
                17            Dated: January 28, 2015
                18
                19                                                          /s/ Courtney Hobson
                                                                            JUDY M. IRIYE
                20                                                          COURTNEY S. HOBSON
                                                                            LITTLER MENDELSON, P.C.
                21                                                          Attorneys for Defendants NAPOLI
                                                                            BERN RIPKA & ASSOCIATES,
                22                                                          LLP; NAPOLI BERN RIPKA
                                                                            SHKOLNIK & ASSOCIATES, LLP;
                23                                                          NAPOLI BERN RIPKA SHKOLNIK,
                                                                            LLP; NAPOLI BERN RIPKA, LLP;
                24                                                          NAPOLI KAISER BERN, LLP;
                                                                            MARC J. BERN; AND PAUL J.
                25                                                          NAPOLI
                26            Firmwide:131375611.2 999999.3072

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